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                                                                                                                               CT 17 PMl:28 ._
                                         [Caption as in Form 416A, 416B, or 4160, as appropriate]

                              NOTICE OF APPEAL AND STATEMENT OF ELECTION


       Part 1: Identify the appellant(s)

                1.   Name(s) of appellant(s ):               · \
                          :f17Q..r\ S GL..-       C-h o..n I       e..,     Sm,+h
                2.   Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
                     appeal:

                     For appeals in an adversary proceeding.               For appeals in a bankruptcy case and not in an
                     D   Plaintiff                                         adversary proceeding .
                     D   Defendant                                        ;;fii{oebtor
                     D   Other (describe} _ _ _ _ _ _ __                    D Creditor
                                                                           D   Trustee
                                                                           D   Other (describe) _ _ _ _ __ __



       Part 2: Identify the subject of this appeal

                1.   Describe the judgment, order, or decree appealed from:              DJ,er   i)t°" ,n9 . Mo11oo ~ ~,~hon
            2.       Stc;3te the date on which the judgment, or6er, or decree was ~ntered: _ _       ID_}0~3-\~2_2.___
       Part 3: Identify the other parties to the appeal

       List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
       and telephone numbers of their attorneys (attach additional pages if necessary):

                1.   Party: '('(\Qr\ ~Cl      Sm ·,th Attorney: _ _ _ _ _ _ _ _ _ _ __
                                     '


            2.       Party:




       Official Form 417A                          Notice of Appeal and Statement of Election                          page 1
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   certain disfricts}

  If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
  hear this appeal unless, pursuant to 28 U.S. C. § 158( c )( 1), a party elects to have the appeal heard by the
  United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
  United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
  Appellate Panel to hear the appeal.

             □ Appellant(s ) elect to have the appeal heard by the United States District Court rather than by
                 the Bankruptcy Appellate Panel.



  Part 5: Sign below

                                                                                                        1~\\---'-2.~2~_
                                                                                  Date: __,)'--'O_..\__,_\
  Signat e of attorney for appellant(s) (or appellant(s)
  if not represented by an attorney)

  Name, address, and telephone number of attorney
  (or appellant(s) if not represented by an attorney):

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    ~V\.o.rnar         1 ~\-     3 s 02..:\




  Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
  form specified in§ 304(g ) of the Bankruptcy Reform Act of 1994, no fee is required .


  [Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
  R. Bankr. P. 8002(c)( 1), complete Director's Form 4170 (Declaration of Inmate Filing ) and file that
  declaration along with the Notice of Appeal .]




  Official Form 417A                     Notice of Appeal and Statement of Election                                 page 2
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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb .uscourts.gov



 In re: Marisa Chanile Smith                                Case No. 22-14583
                                                            Chapter 13
                                                                                FI½ED-USBC, FLS-FTl
                                                                                  22 OCT 17 PMl:28
 _ _____D_e_bt_o-r(_s)..__ _/



                                 NOTICE OF APPEAL



 Marisa C. Smith , DefendanU Debtor appeals under 28 U.S.C. § 158(a) or (b) from the
 judgment, order, or decree of the bankruptcy judge Motion for Reconsideration entered
 in this adversary proceeding on the 3rd of October 2022 . The names of all parties to
 the judgment, order, or decree appealed from and the names, addresses, and
 telephone numbers of their respective attorneys are as follows :



 Dated: 10/17/2022




 Marisa C. Smith

 3809 SW 164 Terrace

 Miramar, Florida 33027

 954-446-5359
              Case 22-14583-SMG
Case 0:22-cv-61931-RKA  Document 1Doc 72 Filed
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  ORDERED in the Southern District of Florida on October 3, 2022.




                                                       Scott M. Grossman, Judge
                                                       United States Bankruptcy Court




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

 In re:                                                 Case No. 22-14583-SMG
                                                        Chapter 13
 MARISA CHANILE SMITH,

                      Debtor          I

                   ORDER DENYING MOTION FOR RECONSIDERATION

          THIS MATTER came before the Court for hearing on September 15, 2022, at 2:00 p.m.

 upon the Debtor's Motion to Reconsider the Court's Order Granting Motion for Relief from Stay

 [D.E. #55] (the "Motion"). The Court, having considered the Motion and the arguments presented

 at the hearing, orders as follows:

          1.     The Motion is denied for the reasons stated on the record.

                                                  ##

 Submitted by:

 Michael S. Hoffman, Esq., Hoffman, Larin & Agnetti, P.A.
 Counsel for Shoma Homes at Nautica Single Family Neighborhood Ass'n Inc
 909 North Miami Beach Boulevard,# 201, Miami, Florida 33162
 Phone: (305) 653-5555
 E-mail: mshoffman@hlalaw.com
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 Attorney Hoffman shall serve a copy of the signed order on all parties served with the Motions and
 shall file with the court a certificate of service conforming with Local Rule 2002-1 (F).
              Case 22-14583-SMG
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


 In re:                                                     Case No. 22-14583-SMG
                                                            Chapter 13
 MARISA CHANILE SMITH,

              Debtor.          I

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the Order Denying Motion To

 Reconsider (DE 72) was sent via CM/ECF to Susan P Bakalar, Esq. , Keith S Labell, Esq., Office

 of US Trustee, Robin Weiner, Trustee on October 3, 2022 and via U.S. Mail on the parties

 identified on Exhibit A on October 4, 2022.


                                               HOFFMAN, LARIN & AGNETTI, P.A.
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                                               Miami, Florida 33162
                                               Tel: (305) 653-5555
                                               Fax: (305 940-0090
                                               Email: mshoffman@hlalaw.com

                                               /s/ Michael S. Hoffman
                                               Michael S. Hoffman, Esq.
                                               Florida Bar No: 41164
